Case 1:06-cv-02404-TCB Document 72 Filed 11/07/07 Page 1 of 5

IN THE UNITED STATES DISTRICT CO'UR'_I`
FOR THE NORTHERN DISTRIC'I` OF GEORGIA

ATLANTA I)IVISION

EQUIFAX, iNC., )

)

Plaintiff )
Counterclaim-Defendant, ) Civil Aetion No. l:O6-CV-2404»-TCB

)

v. )

)

VERID, INC., )

)

Defendant )

Counteyclaim»Plaintiff. )

 

MOTION F()R WITH})RAWAL OF COUNSEL

Plaintiff Equifax, Inc. moves this Court for an Order permitting Erin
Cranmau Witkow, Esq. to Withdraw as counsel for Equifax in the instant action, In
support of this Motion, Plairitiff states that Ms. Witkow is no longer affiliated With
the law firm of Sutherland Asbill & Brennan LLP. Equit`ax Will continue to be
represented by Williar:a F. Long, Esq., §effrey J. Toney, Esq., l\/Iichael l. Kyause,
Esq. and William T. Cc)€)k, Esq. of Sutherland Asbill & Brennan LLP.

Aecordingly, the undersigned respectfully request that the Court issue an
Order (attached) Withdrawing the appearance of Eriu Cranman Witkow on behalf

Of Plaintit`f Equifax, Ine. in the above-styled action.

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DATED: NOV. 7, 2007

SUTHERLAND ASBILL & BRENNAN LLP

/s/ Miehael l. Krause

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Attomeysfor P!al`ntz`fquz/n`fax, Inc.

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IN THE U`NI'§`E§) STATES DISTRICT COURT
FOR THE NORTHERN I)ISTRICT ()F GEORG¥A

ATLANTA DIVIS§ON

EQUIFAX, INC., )

)

Plaintiff )
Counterclairn-Defendant, ) Civil Action No. l:O6-CV~2404-TCB

)

V. )

)

VERID, INC., )

)

Defendant )

Counterclairn-Plaintiff. )

 

CERTIFICATE OF SERVICE

l hereby certify that on Novernber 7, 2007, I electronically filed the
foregoing MOTION FOR WITHDRAWAL OF COUNSEL using the CM/ECP
system Whioh Will automatically send entail notification of such filing to the
following attorneys of record:

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Attomeysfor Defendam Verid, Inc.

/s/ l\/Iichael l. Krause

 

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA

ATLANTA DIVISION

EQUIFAX, INC., )

)

Plaintiff )
Counterclaini-Defendant, ) Civil Action No. l:06-CV»2404-TCB

)

V~ )

)

VERID, INC., )

)

Defendant )

Counterclaim-Plaintiff. )

ORDER

THIS CAUSE is before the Court upon the Motion for Withdrawal of
Counsel filed by Defendants. lt is hereby ORDERED and A})JUDGED:
l. The motion is GRANTED.

2. Erin Cranrnan WitkoW, `Esq. is Withdrawn as counsel for Defendants.

Executed this day of , 2007.

 

 

Honorable Tirnothy C. Batten
`United States Disti‘ict Judge

